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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                  8:08CR122
       vs.                                    )
                                              )                    ORDER
SILVIA VENZOR-ESTRADA,                        )
                                              )
                     Defendant.               )


        This matter is before the court on the defendant's unopposed motion to continue
trial [101]. For good cause shown, the court will grant a continuance to September 23,
2008.

       IT IS ORDERED that the motion to continue trial [101] is granted, as follows:

       1. The trial of this matter is continued to Tuesday, September 23, 2008 at 9:00
a.m. in Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111
South 18th Plaza, Omaha, Nebraska. Judge Smith Camp will meet with counsel in
chambers at 8:30 a.m. on the first day of trial. The provisions of Judge Smith Camp's
order regarding trial preparation [99] remain in effect.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting a continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between July 22, 2008 and September 23, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

     3. Defendant shall file an affidavit or declaration regarding speedy trial, as required
by NECrimR 12.1 and/or 12.3, as soon as is practicable.

       DATED July 10, 2008.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
